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                                                                                                 CO 249
                                                                                                 Rev. 2/2010

              UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                       FOR THE DISTRICT OF COLUMBIA




 MARK R. MEADOWS
____________________________________
      Plaintiff(s)

                                                                                       1:21-cv-3217
                                                                     Civil Action No. _______________
       vs.


 NANCY PELOSI, et al.
____________________________________
      Defendant(s)


                                       AFFIDAVIT OF MAILING

           Brooks H. Spears
       I, _________________________________________, hereby state that:
               15th
       On the __________        December
                         day of ________________________, 2021 I caused to be deposited in the
                                                          _______,
United States Mail a copy of the summons and complaint in the above captioned case, postage prepaid,
return receipt requested, restricted delivery, addressed to the following defendant:
                                  7KH+RQRUDEOH0HUULFN%*DUODQG
                                           $WWRUQH\*HQHUDO
                                      86'HSDUWPHQWRI-XVWLFH
                                    3HQQV\OYDQLD$YHQXH1:
                                     :DVKLQJWRQ'&

                                                                7017 2680 0000 1294 8669
       I have received the receipt for the certified mail, No. ______________________________
(attached hereto), indicating that delivery of the summons and complaint was made upon said defendant
       17th
on the __________         December
                  day of ________________________,  2021
                                                   _______.
       I declare under penalty of perjury that the foregoing is true and correct.




           January 11, 2021
       ________________________                                     /s/ Brooks H. Spears
                                                             _________________________________
                   (Date)                                                    (Signature)
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